                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

TWAIN ROBINSON,

                       Plaintiff,

       v.                                             Case No. 06-C-1022

CITY OF KENOSHA,
KENOSHA POLICE DEPARTMENT, and
KENOSHA PROFESSIONAL POLICE
ASSOCIATION,

                  Defendants.
______________________________________________________________________________

           DEFENDANTS CITY OF KENOSHA AND KENOSHA POLICE
             DEPARTMENT’S MOTION FOR SUMMARY JUDGMENT
________________________________________________________________________________

       TO:      Mr. Twain E. Robinson, Pro Se Plaintiff
                1525 - 24th Street
                Kenosha, WI 53140

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendants City of Kenosha and

the Kenosha Police Department, by their attorneys, Gunta & Reak, S.C., move for summary

judgment dismissing all claims asserted in Plaintiff’s Complaint against them.

       This motion is supported by the following:

       1.       Defendants City of Kenosha and the Kenosha Police Department’s Memorandum

                in Support of Motion for Summary Judgment;

       2.       Defendants City of Kenosha and the Kenosha Police Department’s Proposed

                Findings of Fact in Support of Their Motion for Summary Judgment;

       3.       Affidavit of Police Captain Randall P. Berner, along with Exhibits; and

       4.       Affidavit of Ann C. Wirth in Support of Defendants City of Kenosha and Kenosha

                Police Department’s Motion for Summary Judgment, along with Exhibits.

       A copy of Rule 56 of the Federal Rules of Civil Procedure is attached to this motion, as is

a copy of the Procedure To Be Followed On Motions For Summary Judgment.


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Dated at Milwaukee, Wisconsin, this 14th day of February, 2008.

                                            GUNTA & REAK, S.C.
                                            Attorneys for Defendant, City of Kenosha and
                                            the Kenosha Police Department



                                    By:      /s/ Kevin P. Reak
                                            Kevin P. Reak, State Bar No. 1004316
                                            Ann C. Wirth, State Bar No. 1002469
                                            John A. Wolfgang, State Bar No. 1045325
                                            219 North Milwaukee Street, Fifth Floor
                                            Milwaukee, Wisconsin 53202
                                            Telephone: (414) 291-7979
                                            Facsimile: (414) 291-7960
                                            E-mail: kpr@gunta-reak.com
                                            E-mail: acwirth@wi.rr.com
                                            E-mail: jaw@gunta-reak.com




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